                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE


IN RE:                                      )
                                            )
LIVINGSCAPES, LLC                           )       CASE NO. 20-03561-MH3-11
                                            )
                      Debtor                )


                          RESPONSE TO CHAPTER 11 PLAN
                      AND CONDITIONAL ACCEPTANCE OF PLAN

         Comes now Robert H. Waldschmidt, Trustee for the Bankruptcy Estate of James
Whitfield Livingston (20-03559-MH3-7) – and as the sole equity security holder of the Debtor -
and responds to the Chapter 11 Plan filed by the Debtor:
         1.    The Trustee would request that on # 4 (page 9), the 2nd, 3rd and 4th sentences be
deleted and replaced with the following: “100% of the equity interest in the Debtor (stock or
LLC interest) in the Debtor is being held by the Bankruptcy Estate of James Whitfield
Livingston (Case # 20-03559). Robert H. Waldschmidt is the Trustee in that Case.”
         2.    The Trustee would further request that on Part G – Final Decree (page 14), an
additional sentence be added as follows: “However, a Final Decree will not be entered in this
case until the Trustee for the Bankruptcy Estate of James Whitfield Livingston (Case # 20-
03559) has sold, transferred, abandoned, or otherwise removed the equity interest in the Debtor
from the Bankruptcy Estate of James Whitfield Livingston. “
         3.    If the following amendments are incorporated into the Debtor’s Chapter 11 Plan,
then the Trustee ACCEPTS the Plan. (If said changes are not made, the Trustee rejects the Plan.)



                                            RESPECTFULLY SUBMITTED:

                                            /s/ Robert H. Waldschmidt
                                            ROBERT H. WALDSCHMIDT #4657
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